Case 1:16-cv-03418-TWP-DML Document 47 Filed 11/14/17 Page 1 of 3 PageID #: 848



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

 AARON FARRER,

         Plaintiff,                                     Case No. 1:16-CV-3418-TWP-DML

                 v.

 INDIANA UNIVERSITY, et al.,

         Defendant.


                                PLAINTIFF’S NOTICE OF CAUSE

        Counsel for Plaintiff accidentally missed the status conference held on November 7, 2017

because the normal reminder from counsel’s electronic calendar did not function properly on that day.

Counsel was preparing a lengthy response brief due on November 8th in the case of Gischel v. University

of Cincinnati, et al., United States District Court for the Southern District of Ohio, Case No. 1:17-cv-

00475-SJD, and lost track of time. Around 11:30 am, counsel realized she had not received the calendar

reminder and that time had slipped by while writing the brief and she had missed the conference. Counsel

called chambers at approximately 11:30 am, but the call had finished and was told to take no further

action until receiving notice from the Court. Counsel for Plaintiff also contacted counsel for both parties

after calling chambers on November 7, 2017 and received an update from them on the conference.

        Plaintiff has diligently pursued discovery, and will continue to do so. Again, counsel apologizes

for the inconvenience to the Court and opposing counsel, and represents to the Court that the

overreliance on technology will not happen again.




                                                    1
Case 1:16-cv-03418-TWP-DML Document 47 Filed 11/14/17 Page 2 of 3 PageID #: 849




                              Respectfully Submitted,

                              /s/ Tracy L. Turner,
                              Eric J. Rosenberg (0069958)
                              Tracy L. Turner, Of Counsel (0069927)
                              Rosenberg & Ball Co. LPA
                              395 North Pearl Street
                              Granville, Ohio 43023
                              740.644.1027 phone
                              866.498.0811 fax
                              eric.rblaw@gmail.com
                              tracy.rblaw@gmail.com

                             Counsel for Plaintiff




                                         2
Case 1:16-cv-03418-TWP-DML Document 47 Filed 11/14/17 Page 3 of 3 PageID #: 850




                                  CERTIFICATE OF SERVICE


        This will certify that a copy of the foregoing was served this 14th day of November 2017

 via the Court’s electronic filing system on the following:


         Peter C. Morse
         Matthew Kowals
         Morse Bolduc &
         Dinos
         25 East Washington
         Street Suite 750
         Chicago, Ill. 60602

         Hamish S. Cohen
         Jonathan D.
         Mattingly
         Mattingly Burke Cohen & Biederman
         LLP 5255 Winthrop Ave., Suite 100
         Indianapolis, IN. 46220

                                                /s/ Tracy L. Turner,
                                                Tracy L. Turner




                                              1
